Case 6:12-cv-01928-RBD-GJK Document 12 Filed 01/18/13 Page 1 of 3 PageID 200




                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   EXPPHA, LLC f/k/a PREFERRED
   PHYSICIANS HEALTHCARE
   ALLIANCE, L.C.,

          Plaintiff,

   vs.                                                  Case No.: 6:12-cv-01928-RBD-GJK

   KEPRO ACQUISITIONS, INC.,

          Defendant.
                                                        /

                        CERTIFICATE OF INTERESTED PERSONS
                       AND CORPORATE DISCLOSURE STATEMENT

         I hereby disclose the following pursuant to this Court’s Order on Interested Persons
   and Corporate Disclosure:

   1.     The name of each person, attorney, association of persons, firm, law firm,
          partnership, and corporation that has or may have an interest in a party to this action
          or in the outcome of this action, including subsidiaries, conglomerates, affiliates,
          parent corporations, publicly-traded companies that own 10% or more of a party’s
          stock, and all other identifiable legal entities related to a party:

          KePRO Acquisitions, Inc. is a Pennsylvania corporation wholly owned by Keystone
          Peer Review Organization, Inc.

          Keystone Peer Review Organization, Inc. is a Pennsylvania corporation wholly
          owned by Pennmed, Inc.

          Pennmed, Inc. is a Pennsylvania corporation wholly owned by Pennsylvania Medical
          Society.

          Pennsylvania Medical Society is a Pennsylvania non-profit. No publicly-traded
          corporation owns more than 10% of Pennsylvania Medical Society.

          KePRO is represented by David B. Weinstein and Ryan D. Maxey, both with the law
          firm Greenberg Traurig, P.A.




                                       Greenberg Traurig, P.A.
Case 6:12-cv-01928-RBD-GJK Document 12 Filed 01/18/13 Page 2 of 3 PageID 201




   2.      The name of every other entity whose publicly-traded stock, equity, or debt may be
           substantially affected by the outcome of the proceedings:

           None.

   3.      The name of every other entity which is likely to be an active participant in the
           proceedings, including the debtor and members of the creditors’ committee (or if no
           creditors’ committee the 20 largest unsecured creditors):

           None.

   4.      The name of each victim (individual and corporate), including every person who may
           be entitled to restitution:

           None.

   5.      Check one of the following:

        ____      a. I certify that I am unaware of any actual or potential conflict of interest
                   involving the District Judge and Magistrate Judge assigned to this case and
                   will immediately notify the Court in writing upon learning of any such
                   conflict.
   - or -
       _____       b. I certify that I am aware of a conflict or basis of recusal of the District
                   Judge or Magistrate Judge as follows:


   January 18, 2013                               /s/ David B. Weinstein
                                                  David B. Weinstein
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                                                   2

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Case 6:12-cv-01928-RBD-GJK Document 12 Filed 01/18/13 Page 3 of 3 PageID 202




                                 CERTIFICATE OF SERVICE

            I certify that on January 18, 2013, a true and correct copy of the foregoing was filed
   with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic
   filing to counsel of record.

                                                 /s/ David B. Weinstein
                                                 Attorney




   TPA 511,749,023




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                                        Greenberg Traurig, P.A.
